        Case 1:17-cv-00365-LY Document 123 Filed 07/20/18 Page 1 of 7



                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                                 AUSTIN DIVISION

UMG RECORDINGS, INC., et al.,          )
                                       )
            Plaintiffs,                )
                                       )
vs.                                    )
                                       )
GRANDE COMMUNICATIONS                      No. 1:17-cv-00365-LY
                                       )
NETWORKS LLC,                          )
                                       )
            Defendant.
                                       )
                                       )
                                       )

         DEFENDANT GRANDE COMMUNICATIONS NETWORKS LLC’S
         REPLY IN SUPPORT OF OPPOSED MOTION TO COMPEL THE
          PRODUCTION OF DOCUMENTS AND INFORMATION FROM
                             PLAINTIFFS
          Case 1:17-cv-00365-LY Document 123 Filed 07/20/18 Page 2 of 7



                                        INTRODUCTION

       Plaintiffs acknowledge that they refuse to fully answer the interrogatories at issue, that

they have unilaterally narrowed or outright refused to respond to numerous document requests,

and that they refuse to abide by the parties’ agreed-upon procedures for conducting e-discovery.

The sum total of these actions is a clear attempt to avoid producing responsive, relevant

information and documents, further highlighting the stonewalling tactics Grande has experienced

throughout discovery from Plaintiffs, Rightscorp, and the RIAA.

       In that same vein, Plaintiffs’ argument that Grande’s Motion to Compel is untimely is

impossible to reconcile with the facts. Plaintiffs continued to produce documents into early June,

and have never indicated that their production is complete. In addition, Plaintiffs have

repeatedly attempted to rely on documents produced by Rightscorp and the RIAA as satisfying

their discovery obligations, yet they did not serve their final document productions until June 29.

Moreover, Plaintiffs expressly refused to answer the interrogatories at issue on grounds that

discovery was ongoing, giving Grande reason to believe that complete responses might still be

forthcoming. The Court should reject Plaintiffs’ last-ditch effort to evade their discovery

obligations.

                                           ARGUMENT

  I.   PLAINTIFFS DO NOT ADEQUATELYANSWER GRANDE’S
       INTERROGATORIES 13 AND 19

       Plaintiffs’ attempts to justify its deficient answers to these Interrogatories only highlight

the underlying deficiencies. Plaintiffs appear to be alleging infringement of approximately 1,500

copyrights in this action, yet they claim to have fully identified the factual basis for these

allegations in “a four-page narrative response” to Grande’s Interrogatory 13. Plfs.’ Resp. at 9

(ECF No. 115). It should go without saying that Plaintiffs have the burden to prove their case



                                                  1
          Case 1:17-cv-00365-LY Document 123 Filed 07/20/18 Page 3 of 7



with respect to each asserted copyright, and the related information Grande seeks is basic:




Ex. 7 to Mot. to Compel at 1 (ECF No. 112-1). Plaintiffs have no reasonable or legitimate basis

for placing the burden on Grande to sift through millions of pages of documents to connect the

dots and assemble this information. Again, as noted in Grande’s motion, Plaintiffs must have

already analyzed this information as part of their Rule 11 investigation prior to filing suit.

       As for Interrogatory 19, Plaintiffs attempt to sidestep the fact that the key question posed

by this Interrogatory remains unanswered: Plaintiffs have not identified the number of instances

of copyright infringement for which they are seeking recovery. See id. at 13-14. Plaintiffs have

also not identified the specific evidence they will rely on with respect to each such instance of

alleged infringement. See id. As with Interrogatory 13, this is incredibly basic information that

goes to the heart of Plaintiffs’ case. The Court should therefore order Plaintiffs to fully answer

these Interrogatories.

 II.   PLAINTIFFS IMPROPERLY NARROWED OR REFUSED NUMEROUS
       REQUESTS FOR PRODUCTION

       Plaintiffs fail to provide any legitimate basis for avoiding their obligation to produce



                                                  2
          Case 1:17-cv-00365-LY Document 123 Filed 07/20/18 Page 4 of 7



documents responsive to Grande’s requests for production.

       First, as to Grande’s Requests for Production implicating Rightscorp, Plaintiffs evade the

real question: whether Plaintiffs have produced all responsive documents in their possession,

custody, or control. See Plfs.’ Resp. at 3 (“Grande has gotten or will receive all to which it is

entitled.”). Whether Grande has received or will receive all of the information it has requested

from Rightscorp is irrelevant to the issue before the Court. The Court should order Plaintiffs to

produce all documents responsive to these requests.

       Second, Plaintiffs are simply wrong to claim that Grande is seeking irrelevant

information about “other ISPs.”1 See Plfs.’ Resp. at 4. The vast majority of the requests

Plaintiffs refer to are not directed to discovering information about the practices of other ISPs,

but rather to discovering information about Rightscorp’s purported system for detecting

copyright infringement—a key issue in this case.2 Plaintiffs’ previous attempt to obtain

discovery from Patriot regarding other ISPs managed by Patriot is irrelevant.

       Third, with respect to Requests for Production 15 and 16, regarding the negative impact

of file-sharing on ISPs, Plaintiffs attempt to craft a position on the facts to avoid producing

relevant documents. See Plfs.’ Resp. at 4-5. Plaintiffs do not deny that these requests seek

relevant information; rather, they simply contend that they disagree that ISPs suffer losses as a

result of online file-sharing. Whether or not Plaintiffs agree, the requested documents are

relevant, and the Court should therefore order Plaintiffs to produce them.




1 Grande will not waste the Court’s time responding in detail to Plaintiffs’ assertions about
“iron-clad evidence” of Grande’s liability. It is telling that Plaintiffs refuse to answer
interrogatories seeking straightforward information about the evidentiary basis of their claims.
2 This encompasses issues such as flaws or limitations in Rightscorp’s system, the adequacy of
Rightscorp’s notices, and Rightscorp’s ability to provide information to enable ISPs to
meaningfully evaluate and respond to allegations of copyright infringement.


                                                  3
          Case 1:17-cv-00365-LY Document 123 Filed 07/20/18 Page 5 of 7



       In sum, Plaintiffs have failed to meet their burden to demonstrate that they are entitled to

continue withholding responsive documents.3 See, e.g., Sully v. Freeman, No. 1:16-cv-818,

2017 WL 3457123, at *1 (W.D. Tex. Feb. 1, 2017) (“The party resisting discovery must show

specifically how each discovery request is not relevant or otherwise objectionable.”).

III.   PLAINTIFFS’ EMAIL PRODUCTION REMAINS DEFICIENT

       The Court should not permit Plaintiffs to refuse to comply with the parties’ agreed-upon

procedure for conducting e-discovery. Plaintiffs do not claim that they ever indicated an

intention to conduct a second “relevance” screening of responsive emails until after the parties

had agreed to an e-discovery procedure, and after Grande had produced emails responsive to the

full scope of Plaintiffs’ search terms. Indeed, in meet and confer efforts preceding Grande’s

email production, Plaintiffs adamantly refused to narrow the scope of their search terms, in spite

of Grande’s repeated explanations that Plaintiffs’ search terms would result in the production of

irrelevant documents. Plaintiffs insisted that Grande produce all emails responsive to its search

terms, and the Court should require Plaintiffs to do the same.

       None of the authorities Plaintiffs rely on are relevant to the issue before the Court.

Instead, these authorities simply explain that parties can agree to multiple levels of review in

connection with email discovery. Moreover, the Kenyon case actually addresses a completely

different issue—whether it would be unduly burdensome to require a party responding to a Rule

45 subpoena to conduct multiple levels of review. See Kenyon v. Simon & Schuster, Inc., No.

1:16-mc-327, 2016 WL 5930265, at *5 (S.D.N.Y. Oct. 11, 2016). Here, in contrast, Grande is

simply seeking to hold Plaintiffs to the parties’ bargain, and to require Plaintiffs to do exactly




3 Grande further notes that Plaintiffs did not respond at all to Grande’s request to compel the
production of documents responsive to Request for Production 34. Mot. to Compel at 3.


                                                  4
          Case 1:17-cv-00365-LY Document 123 Filed 07/20/18 Page 6 of 7



what Plaintiffs insisted Grande must do in identifying and producing responsive emails.

IV.    GRANDE’S MOTION TO COMPEL IS TIMELY

       Grande timely filed its motion to compel, after extensive meet and confer efforts in the

hope of avoiding unnecessary motion practice. Plaintiffs’ claims to the contrary are meritless.

       First, with respect to Plaintiffs’ deficient answers to Interrogatories 13 and 19, Plaintiffs

ignore that their answers expressly objected on grounds that discovery was ongoing, and

indicated that Plaintiffs might supplement their answers based on subsequently-obtained

information. Ex. 7 to Mot. to Compel at 5, 14. Thus, until it became evident that Plaintiffs

would not in fact do so, Grande had reason to believe that more detailed, sufficient answers may

be forthcoming.

       Second, with respect to Plaintiffs’ document production (both emails and otherwise),

Plaintiffs ignore that they continued to produce documents on a rolling basis into early June, with

the last such production occurring on June 7, 2018. Plaintiffs have never indicated that their

document production was or is complete. In addition, Plaintiffs rely on documents produced by

Rightscorp and the RIAA as purportedly satisfying certain of their production obligations. Yet

Rightscorp and the RIAA did not serve their final document productions until June 29, 2018.

Over the course of the last 10 months, the parties have conferred on dozens of occasions

regarding discovery requests. Grande diligently sought discovery from Plaintiffs and it was not

until the looming close of fact discovery that the final scope of Plaintiffs’ deficiencies became

clear. For these reasons, the Court should not give any weight to Plaintiffs’ argument that

Grande did not timely seek relief from the Court.

                                         CONCLUSION

       For the foregoing reasons, the Court should grant Grande’s Motion to Compel.




                                                 5
         Case 1:17-cv-00365-LY Document 123 Filed 07/20/18 Page 7 of 7




Dated: July 20, 2018.


                                                    By: /s/ Richard L. Brophy
                                                        Richard L. Brophy
                                                        Zachary C. Howenstine
                                                        Margaret R. Szewczyk
                                                        Armstrong Teasdale LLP
                                                        7700 Forsyth Blvd., Suite 1800
                                                        St. Louis, Missouri 63105
                                                        Telephone: 314.621.5070
                                                        Fax: 314.621.5065
                                                        rbrophy@armstrongteasdale.com
                                                        zhowenstine@armstrongteasdale.com
                                                        mszewczyk@armstrongteasdale.com

                                                        Attorneys for Defendant GRANDE
                                                        COMMUNICATIONS NETWORKS LLC




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on July 20, 2018, all counsel of record who are deemed to

have consented to electronic service are being served with a copy of this document via the

Court’s CM/ECF system pursuant to Local Rule CV-5(b)(1).



                                                     /s/ Richard L. Brophy
                                                     Richard L. Brophy




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